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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

DAVID L. BRADFORD,                          )
                                            )
              Petitioner,                   )
                                            )
vs.                                         )        Case No. 19-cv-1022-DWD
                                            )
UNITED STATES OF AMERICA,                   )
                                            )
              Respondent.                   )

                      MEMORANDUM AND ORDER
        ON PETITION TO VACATE, SET ASIDE, OR CORRECT SENTENCE
                         UNDER 28 U.S.C. § 2255

DUGAN, District Judge:




Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 (Doc. 1). For the

following reasons, the Motion is DENIED.

                                       Background

       On August 8, 2016, following a five day jury trial, a jury found Petitioner David L.

Bradford guilty on six counts of the Second Superseding Indictment in United States v.

David L. Bradford, SDIL Case No. 15-30001-DRH-1 (15-30001, Doc. 235, 240) (hereinafter

                                        1       Bradford was found guilty of conspiracy to

distribute and possess with intent to distribute controlled substances (Count 1), transfer

of a firearm of a previously convicted felon (Count 3), distribution of cocaine (Counts 5


1                                                                              See Guaranty
Bank v. Chubb Corp.
                               Opoka v. I.N.S.


                                                 1
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& 6), possession with intent to distribute marijuana (Count 7) and unlawful possession

of a firearm by a previously convicted felon (Count 8) (Id.) Bradford was acquitted on

Count 2 for possession of a firearm in furtherance of a drug trafficking crime (Id.)

          On January 11, 2017, the Court 2 sentenced Bradford to a term of 420 months on

each of Counts 1, 6, and 8; a term of 360 months on Count 5; and a term of 120 months on

each of Counts 3 and 7, all terms to be served concurrently, for a total term of

imprisonment of 420 months, to be followed by 8 years of supervised release (Criminal

Case, Doc. 274). The Seventh Circuit affirmed

in United States v. Bradford, 905 F.3d 497 (7th Cir. 2018). On September 18, 2019, Bradford,

through counsel, timely 3 filed a petition to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255 (Doc. 1). He filed a Memorandum in Support (Doc. 8) and

sealed exhibits (Doc. 10). The Government responded (Doc. 22), to which Bradford

replied (Doc. 27).

                                       The Petition

                                                   e assistance of counsel claim against his

trial counsel, John D. Stobbs, II. Bradford

ineffective in violation of the Sixth Amendment, for no less than four reasons: (1) Stobbs

did not object or seek a limiting instruction in relation to various witness testimony of

                                                  idence; (2) Stobbs did not investigate the

case file; (3) Stobbs did not conduct due d



2
3See   28 U.S.C. § 2255(f)(1).
                                              2
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witnesses by introducing their prior inconsistent statements as memorialized in

investigation reports from the United States Bureau of Alcohol, Tobacco, Firearms and

                               Bradford argues that these alleged wrongdoings prejudiced

Bradford: (1) by permitting the jury to wrongfully consider prejudicial unrelated bad acts

when convicting Bradford; (2) by providing the sentencing judge with additional

evidence of violence so that the sentencing judge found it appropriate to add an extra five

                                ; and (3) by limiting review of the unrelated bad acts

                                  dard of review on appeal (Id.).

       In his reply, Bradford also provided his affidavit (Doc. 27-1), raising additional

grievances against Stobbs, including, that: Stobbs refused to use any of the material

Bradford provided during trial (Doc. 27-1, ¶¶ 8, 11), Stobbs insulted Bradford by calling

                                                  ¶¶ 9, 17), Stobbs was friendly with the

                                 ent Adam Ulery (Doc. 27-1, ¶ 12), Stobbs indicated that he

would not assist Bradford if Bradford chose to testify at trial, resulting in Bradford

electing not to testify (Doc. 27-1, ¶ 20), and Stobbs failed to present any mitigating factors

at sentencing while also ackn

(Doc. 27-1, ¶¶ 21-22). Bradford also alleges th

performance, both during the trial, and at sentencing (Doc. 27-1, ¶15).             The trial

transcripts reveal that the Court spoke with Bradford at the conclusion of day 2 of his

                              concerns (Criminal Case, Doc. 249, pp. 367-368). The Court

specifically told Bradford:

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              And so a lawyer can consider the questions his client wants him to


       my place to second guess that lawyer.


       certainly within the standard as far as defense of a criminal case is


       problem.

              I mean I can -- because of the fact that so far the evidence is -- there's



       unusual for me to hear a defendant say, Well, I want him to ask these questions
       or I want him to ask this question or that question. I want him to call this witness
       or call that witness when the time comes, things like that.

               I have no problem with you putting your concerns on the record,
                                                                   You have to
       ask the questions Mr. Bradford wants you to ask.

(Id.). Later at sentencing, Bradford asked for a new attorney to be appointed on appeal

(Doc. 27-1, ¶¶ 15, 23-25). His request was granted (Criminal Case, Doc. 280). In sum,

Bradford presents these additional grievances

Bradford tainted his performance at trial and unfairly colored Bradford to the jury and

the judge as a bad person (Doc. 27-1, ¶ 17).

       With its response, the Government provided an Affidavit from Attorney Stobbs

(Doc. 22-2). Both the Government and Stobbs

deficient, and that he properly exercised his trial strategy in not objecting to the

highlighted testimony at trial (Doc. 22, p. 16). The Government and Stobbs point to




                                                4
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and that any objections to the bad act testimony would have been overruled because the

testimony was (a) directly relevant to the charged crimes and (b) was not substantially

outweighed by the danger of unfair prejudice (Doc. 22, pp. 13, 30-31) 4.

       The Government also argues that Stobbs would not have been able to present the

ATF investigation reports to the jury because the reports themselves were inadmissible



testimony (Doc. 22, pp. 29-30).     Moreover, the Government asserts that any alleged

failure in trying to investigate the involvement of two additional



the individuals and/or Bradford would have had the requisite information to inform

Stobbs of their identities (Doc. 22, pp. 31-32). Finally, the Government acknowledges that

the sentencing judge was not limited by the trial testimony during sentencing but was




                                      Legal Standard

       Section 2255 permits prisoners to petition their sentencing court for relief from



United States, or that the court was without jurisdiction to impose such sentence, or that




4 These arguments are consistent with the Seventh
testimony was direct evidence of the charged offenses and therefore properly before the jury.
United States v. Bradford, 905 F.3d 497, 505-506 (7th Cir. 2018).
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the sentence was in excess of the maximum authorized by law, or is otherwise subject to

                                                Relief under section

                                                                         Kafo v. United States,

467 F.3d 1063, 1068 (7th Cir. 2006); Prewitt v. United States, 83 F.3d 812, 816 (7th Cir. 1996).

Therefore, issues not raised on direct appeal are barred from collateral review absent

either a showing of good cause for the failure resulting in actual prejudice, or that a

refusal to consider the issue would lead to                                                  Id.

Bradford ultimately bears the burden to prove the allegations in his petition warrant relief

under section 2255. Stetson v. United States, 417 F.2d 1250, 1253 (7th Cir. 1969).

       The district court is not required to hold an evidentiary hearing on a section 2255



                          Cooper v. United States, 378 F.3d 638, 641-642 (citing United States

v. Kovic, 830 F. 2d 680 (7th Cir. 1987)); Galbraith v. United States, 313 F.3d 1001, 1009 (7th

                                   ement that the district court grant an evidentiary hearing

for every § 2255 petition allegi                             Aleman v. United States, 878 F.2d

1009, 1012 (7th Cir. 1989) (citing Day v. Untied States, 357 F.2d 907, 910 (7th Cir. 1966)



determining whether a hearing should be affo

review of the filings and the record, this Court concludes that the issues in this case can

be resolved on the existing record; an evidentiary hearing is not necessary here.



trial counsel. Ineffective assistance of counsel claims may be brought in a collateral

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proceeding under section 2255 regardless of whether the petitioner could have raised the

claim on direct appeal. Massaro v. United States, 538 U.S. 500, 504 (2003). To succeed on



                                                         Gant v. United States, 627 F.3d 677,

682 (7th Cir. 2010) (citing Strickland v. Washington

establish either deficience or prejudic                                      Gant, 627 F.3d at

682; see Thill v. Richardson, --F.3d--, 2021 WL 172824, at *5 (7th Cir. May 3, 2021) (Petitioner

must establish both Strickland prongs).



fell below the objective standard of reasonableness. Strickland v. Washington, 466 U.S. 668,

669 (1984). Here, Bradford mu                                      esumption that

conduct falls within the wide range of                                          Strickland, 466

U.S. at 669; Cooper v. United States



decisions in the exercise of his or her reasonable professi

                                                   nt performance prejud

case when it deprives the defendant of a fair



                                 Taylor v. Bradley, 448 F.3d 942, 950 (7th Cir. 2006) (internal

citations omitted); Thill, 2021 WL 172824, at *6 (quoting Strickland, 466 U.S. at 694). Here,



of the adversarial process that the trial cannot be relied on as having produced a just

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         Cooper v. United States, 378 F.3d 638, 642 (7th Cir. 2004) (citing Strickland, 466 U.S.

at 686). In other words, Bradford must show that withou

assistance, the outcome of his case would have been different. Prewitt, 83 F.3d at 819. A

                             ice does not qualify as actual              Harrington v. Richter,

562 U.S. 86, 112 (2011) (emphasis in original).

                                         Discussion

       Bradford generally raises four issues with

litany of grievances Bradford raises in his Affidavit. However, before evaluating whether



Bradford can establish prejudice. Taylor, 448 F.3d at 949 (relying on Strickland, 466 U.S. at

694) (the Seventh Circuit consistently adopts the Su                                 Strickland

                                  the petitioner has established prejudice and then, if

                                                   mance fell outside the parameters of what




                                                   Id. This approach prevents courts from



                                                                       Id. at 949-950 (quoting

Strickland, 466 U.S. at 697). Ineffective assistance claims do not prejudice defendants

                                                                                See Taylor, 448

F.3d at 950 (collecting cases).

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      Here, Bradford cannot establish prejudice, therefore his ineffectiveness claim must

fail. The evidence presented by the Govern

so to support the reliability of his guilty verdict, and thus Bradford cannot demonstrate

                                                onable probability that the result of the

                                             Taylor, 448 F.3d at 951 (internal markings

omitted). The Government presented its case over 5 days and called 13 witnesses

(Criminal Case, Docs. 226-235). The trial transcripts exceeded 1,000 pages (Criminal Case,

Docs. 248-252). The evidence presented by the Government included testimony from



                                                nt agents and firearms dealers, linking

Bradford to the possession of multiple firearms, multiple drug transactions, and the

purchase of firearms, ammunition, and accessories (see generally, Criminal Case, Docs.

248-251).

      As documented in the trial record, and further summarized in United States v.

Bradford, 905 F.3d 497 (7th Cir. 2018), the Government opened an investigation of

Bradford after a firearms dealer informed ATF of a suspicious firearms purchase in

February 2014 involving Bradfo

friend, Smith. The firearms dealer testified that the purchase was suspicious, in part,

because Bradford and Smith, appeared more interested in the guns, but that Hawkins

ultimately made the purchase, with Bradford pitching in a couple hundred dollars (see

generally, Criminal Case, Doc. 248, pp. 23-48). The purchased gun was shipped to a store

                                            ATF agents surveilled Hawkins as she picked

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then arrested.

       While in custody, Hawkins informed ATF that Bradford kept a 9mm pistol under




                                agents testified that they recovered indicia of firearm



number tag for a Draco pistol, empty magazines, gun holsters, a gun lock, and

miscellaneous firearm parts.     Hawkins eventually surrendered a Draco pistol which



       Smith began working with ATF as an informant after his arrest and conducted

two controlled crack-cocaine buys from Bradford.          Smith further testified that he

observed multiple firearms throughout Brad

Smith observed Bradford using one of his fi




riffles, a digital scale, and two sandwich baggies, each containing one ounce of marijuana.

                                                    remy Harris also testified extensively

                                                 see generally, Criminal Case Doc. 249, pp.

210-273; Criminal Case, Doc. 251, pp. 81-179). Specifically, Raphael testified that he lived



                                                 pp. 214-216).   Raphael further testified

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                                              marijuana and cocaine, and that Raphael

                                                 at he would bag at

later distribute (Criminal Case, Doc. 249, pp. 214-226).      Raphael also accompanied

                              deals for protection and woul

when Bradford was not at home (Id.

and stated that Bradford would often lend Raphael his guns if Raphael needed them (see

generally, Criminal Case, Doc. 249, pp. 228-259). Raphael also assisted in moving and



the guns when they were both arrested (Id.; see also Criminal Case, Doc. 249, pp. 271-273).

       Jeremy Harris testified consistently, confirming that Br



                                                 adford was not at home, and that Bradford

had many firearms (see generally, Criminal Case, Doc. 251, pp. 98-179). The Government



on his couch counting money with guns spread throughout his dining room (Criminal

Case, Doc. 249, pp. 287-291). Raphael described

                     Id.). At sentencing, the sentencing judge, Judge Herndon described

                                                            ce movie where Mr. Bradford

was just involved with a group that sort of anything goes with respect to drugs and guns

and that video would make one believe that they found it thrilling to use these guns in




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impeachment or rebuttal evidence 5 from Bradford, the evidence produced against



verdict. 6                                             d performance was deficient, Bradford



                                       Stobbs performed differently. Taylor, 448 F.3d at 951.

Accordingly, Bradford cannot demonstrate prejudice, and his claim must fail without

further analysis into                             Id. at 949.



that Judge Herndon did not add an extra five

of the alleged errors Bradford complains of. Instead, the transcripts indicate that Judge




5 While Bradford generally complains that Stobbs did not properly investigate the case file or
otherwise conduct due diligence into the Govern
what additional evidence, if any, he claims Stobbs should have found or used in connection with
the trial, presumably for impeachment or rebuttal purposes.

6   The sentencing judge likewise found th                                         See Criminal Case,
                                                         ford does not accept the jury verdict in this
case, that the problem that Mr. Bradford has is that the evidence against him at trial was
overwhelming against him. I understand that really the only position that he can take at this
point is that everybody was lying and everybody was not telling the truth when they testified
against him. We had a trial where his girlfriend testified against him, his relatives testified against
him, the other people involved in the case with him testified against him. We had a confidential
informant who was actually being paid by ATF who testified against him, and we have a video
that is not of him committed the crimes necessarily that -- in other words, in the Indictment, but
certainly corroborate much of what is charged; the video of him dancing around the guns and
pointing to contraband. You know, there is just overwhelming evidence in this case against Mr.
Bradford. The people that testified gave testimony that was consistent with other witnesses. It is


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imposing Bradford

      Judge Herndon also appeared to rely heavily on the videotape evidence presented

at trial in reaching his decision (Id.). Bradford does not argue that this videotape was

inappropriately submitted to the jury or that it should not have been viewed by his

sentencing judge. Therefore, even if the sentencing judge should not have considered the

additional testimony Bradford complains of, he cannot show a reasonable probability

                               case would have been different. The remaining evidence

before the Court, and particularly the videotape Judge Herndon found so disturbing,



extra years to Brad




compassionate appeal to the Court to speak with Bradford directly at sentencing

(Criminal Case, Doc. 295, pp. 33-34). Indeed, Stobbs was confused as to why Bradford

refused to work with probation and was unwilling to participate in the pre-sentencing

mitigation report, but further asked Judge Herndon to speak directly with Bradford in

the hopes that Judge Herndon would see the

Stobbs described him as                         Id. at p. 34).



sentencing does not indicate prejudice or any alleged negative opinions Stobbs may have

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held of Bradford. Instead, in reviewing the context surrounding this framing at trial it is

                                Bradford as an enthusiast provided a reasonable, and

alternative, narrative which the jury could have relied on in acquitting Bradford on Count

2 (possession of a firearm in furtherance of a conspiracy) because this narrative showed

that Bradford had alternative reasons for possessing his large quantity of firearms

separate from his drug dealings.

       In conclusion, upon review of the record, the overwhelming evidence of




                                       Disposition


       For the reasons articulated above, the Court DENIES

U.S.C. § 2255 to vacate, set aside, or correct sentence. The Clerk is DIRECTED to enter

judgment in favor of the United States and against Petitioner David L. Bradford.

       Rule 11(a) of the Rules Governing Section 2255 Proceedings requires a district

court entering a final order adverse to a petitioner to issue or deny a certificate of

appealability. 28 U.S.C. § 2253(c)(2) states that a certificate of appealability may issue




debate whether (or, for that matter, agree that) the petition should have been resolved in

a different manner or that the issues presen

                     Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); see also United States v.



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Fleming, 676 F.3d 621, 625 (7th Cir. 2012). The undersigned concludes that Bradford has

not satisfied his burden of showing that was entitled to relief on the merits of his petition.

Reasonable jurists would not find this conclusion debatable. Accordingly, the Court

DECLINES to issue a certificate of appealability.

       SO ORDERED.


       Dated: May 5, 2021



                                                  _____________________________
                                                  DAVID W. DUGAN
                                                  United States District Judge




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